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                         UNITED STATES DISTRICT COURT

                        SOUTHER D]STRICT OF NEW YORK

                                             X

GISELLE PETERS,                                        CIVIL ACTION

      Plaintiff                                        NO


VS.

METRO-NORTH RAILROAD COMPANY,

      Defendant
                                            X


                                     COMPLAINT


                                NATURE OF ACTION

      1. The Plaintiff brings this action against the Defendant for injuries suffered by
her while in the employ of the Defendant Railroad.


                                   JURI     CTION

      2. This Court has subject matter jurisdiction in this case pursuant to the Federal
Employers' Liability Act, 45 U.S.C. S 51 ef seg. Venue properly lies in this Court

pursuant to 45 U.S.C. S 56


                                      PARTIES

      3. The Plaintiff is domiciled in West Hempstead, New York
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       4. The Defendant, Metro-North Railroad Company, (hereinafter referred to as
Defendant Railroad), is a railroad corporation duly established by law, and having a

usual place of business in New York, New York.


                                            FACTS

       5. During all times herein mentioned, the Defendant Railroad was a common
carrier engaged in the business of interstate commerce, and as such, operated a

railroad in such business between New York, New York, and New Haven, Connecticut.

       6. At the time the Plaintiff received the injuries complained of, she was
 employed by the Defendant Railroad as a Human Resources Business Partner in its

 offices located at420 Lexington Avenue, New York, New York.

       7. At the time the Plaintiff received the injuries complained of, the Defendant
Railroad was engaged in interstate commerce and the Plaintiff was employed in

furtherance of said commerce.

       8. On or about January 26,2016 at approximately 6:30 p.m., while the Plaintiff
was on duty working as a Human Resources Business Partner, she slipped and fell on

the wet floor in the Women's Restroom. As a result, the Plaintiff sustained injuries to

both of her knees and both of her wrists.




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                          AS AND FOR A FIRST CAUSE OF ACTION

        9. The Plaintiff adopts by reference and realleges each and every allegation set
forth in paragraphs 1 through 8 of this Complaint with the same forth and effect as if

fully set forth herein.

        10. The Defendant Railroad, its agents, servants, and employees failed in its
nondelegable duty to provide the Plaintiff with a reasonably safe place to work and were

negligent in one or more of the following ways:

       a) it carelessly maintained the work area of the office building by permitting the
Women's Restroom floor to be left in a wet and slippery condition after it was cleaned;

       b) it failed to provide any warning to the Plaintiff that the Women's Restroom
had just been cleaned and the floor was in a wet and slippery condition.

       11   . As a result of the negligence in whole or in part of the Defendant Railroad,
its agents, servants, or employees, the Plaintiff was injured and sustained torn
ligaments with strained tendons in both wrists and contusions and severe aggravation

to both knees.

       12. As a result of the failure of the Defendant Railroad, its agents, servants, or
employees to use reasonable care to provide the Plaintiff with a safe place in which to

work and negligence, the Plaintiff was injured.

       13. As a result of the said injuries, the Plaintiff has suffered and will suffer lost
wages and benefits,- incurred medical expenses, suffered physical pain and mental

anguish and will continue to do so in the future. The Plaintiff has permanent loss of

function and has an impairment to her earning capacity.



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      WHEREFORE, in order to fairly and justly compensate the negligently injured

Plaintiff and thereby promote safe working conditions on the Defendant Railroad, the

Plaintitf demands a judgment for monetary damages against the Defendant Railroad in

addition to any further relief the Court deems just and equitable.


       PLAINTIFF DEMANDS TRIAL BY JURY



                                          By her attorneys,




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